                Case 3:22-cv-02646-LB Document 114-1 Filed 03/07/23 Page 1 of 2



1    JOHN PIERCE LAW, P.C.
     John M. Pierce
2
     jpierce@johnpiercelaw.com
3    21550 Oxnard St.
     3rd Flr., PMB 172
4    Woodland Hills, CA 91367
     (213) 349-0054
5

6                                    UNITED STATES DISTRICT COURT

7                                   NORTHERN DISTRICT OF CALIFORNIA
8                                        SAN FRANCISCO DIVISION
9
     LAURA LOOMER, as an individual, LAURA Case No.: 3:22-cv-02646-LB
10   LOOMER, in her capacity as a Candidate for Hon. Laurel Beeler
     United States Congress, and LAURA LOOMER
11   FOR CONGRESS, INC.,
12
                      Plaintiffs,
13                                                  DECLARATION OF JOHN M. PIERCE IN
     vs.                                            SUPPORT OF PLAINTIFFS’ MOTION
14                                                  FOR LEAVE TO FILE SECOND
     META PLATFORMS, INC., MARK                     AMENDED COMPLAINT
15
     ZUCKERBERG, in his capacity as ceo of Meta HEARING DATE: [TBD]
16   Platforms, Inc. and as an individual, TWITTER,
     INC., and JACK DORSEY, in his capacity as
17   former CEO of Twitter, Inc. and as an
     individual, THE PROCTOR & GAMBLE CO.,
18
     and DOES 1-100, individuals,
19
                      Defendants
20

21

22         I, John M. Pierce, affirm under penalty of perjury that:
23            1.      I am an Attorney in good standing with the State Bar of California and this Court.
24
     I am the Founder and Owner of John Pierce Law P.C. (“JPL”). I have personal knowledge of the
25
     facts set forth herein. I make this declaration in support of Plaintiffs’ Motion for Leave to File a
26

27   Second Amended Complaint.

28
     HEARING DATE: [TBD] - 1
              Case 3:22-cv-02646-LB Document 114-1 Filed 03/07/23 Page 2 of 2



1           2.      Attached hereto as Exhibit A is a true and correct copy of the proposed Second
2
     Amended Complaint in this action.
3
            3.      Based upon publicly available information, to the best of my knowledge, all of the
4
     tweet quotations attributed to Elon Musk in the proposed Second Amended Complaint are
5

6    accurate recitations of his public Tweets.

7           4.      Based upon publicly available information, to the best of my knowledge, all of the
8
     tweet quotations attributed to the “Twitter Files” in the proposed Second Amended Complaint
9
     are accurate recitations of the Twitter Files.
10
            5.      Based upon publicly available information, to the best of my knowledge, all of the
11

12   quotations attributed to the questioning and testimony of the February 8, 2023 House Oversight

13   Committee Hearing at which four former Twitter executives testified are accurate recitations of
14
     the questioning and testimony.
15
            6.      Prior to filing this Motion, I inquired with counsel for Defendants as to whether
16
     they would consent to the filing of a Second Amended Complaint based on recent factual
17

18   developments. Counsel for Defendants declined.

19

20
     Dated: March 7, 2023
21
     The Villages, Florida
22

23

24                                                               /s/ John M. Pierce
                                                                 John M. Pierce
25

26

27

28
     HEARING DATE: [TBD] - 2
